                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION


C. Terry Hunt Industries, Inc.  )           Civil Action No.: ______________________
                                )
                     Plaintiff, )
                                )
       vs.                      )                  DEFENDANT’S RULE 7.1
                                )                 DISCLOSURE STATEMENT
Enviva Pellets Sampson, LLC     )
                                )
                     Defendant. )
______________________________)

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant, Enviva Pellets

Sampson, LLC, hereby identifies its parent companies as follows:

   •   Enviva Wilmington Holdings, LLC is Enviva Pellets Sampson, LLC’s sole member.

   •   Enviva Development Holdings, LLC is Enviva Wilmington Holdings, LLC’s managing member.

   •   Enviva Holdings, LP is Enviva Development Holdings, LLC’s sole member.

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant hereby states that no

publicly held corporation owns 10% or more of its stock.

                                            Respectfully submitted,

                                            By: /s/Thomas E. Dudley, III_________
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Greenville, South Carolina
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